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                                       September 17, 2019
                                                                                         Via ECF
Honorable Lorna G. Schofield
U.S. District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, NY 10007

       Re:     In re Foreign Exchange Benchmark Rates Antitrust Litigation
               Case No. 1:13-cv-07789-LGS (S.D.N.Y.)

Dear Judge Schofield:

       Plaintiffs write to request the Court’s authorization to make additional disbursements of
up to $2,000,000 from the settlement funds for the purpose of paying invoices for Settlement
Administration Expenses from services rendered by the Claims Administrator (Epiq), Rust
Consulting (Rust), Ankura Consulting (Ankura), and Velador Associates (Velador).

       I.      Expenses Paid and Incurred

       The Court has previously authorized Class Counsel to pay $14,500,000 from the
settlement funds for Settlement Administration Expenses. ECF Nos. 536, 698, 756, 866, 882,
945, 1078, 1126, 1181. Attached as Exhibit A is a breakdown of the Settlement Administration
Expenses paid and incurred to date.

       II.     Future Anticipated Expenses
      Class Counsel anticipate receiving further invoices that would compensate Epiq, Rust,
Ankura, and Velador for further work on the claims administration process.

        Epiq. Class Counsel anticipate that Epiq’s future claims administration work will
generally include: (i) responding to class member inquiries regarding the claims process
(including maintaining a call center and responding to email questions); (ii) coordinating with
Rust on administrative procedures, (iii) updating and maintaining an online filing portal and
website; and (iv) processing claims and payments.

       Rust. Class Counsel anticipate that Rust’s future claims administration work will
generally include coordinating with Epiq on administrative procedures relating to the foreign
claimants subject to heightened privacy law requirements.

       Ankura. Class Counsel anticipate that Ankura’s future claims administration work will
generally include: (i) calculating claims under both Option 1 and Option 2; (ii) preparing Claim
Assessment Notifications that are being distributed to claimants; and (iii) assisting Class Counsel
and Epiq in responding to complex inquiries from claimants.
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         Velador. Class Counsel anticipate that Velador’s future claims administration work will
generally include: (i) handling large Option 1 and Option 2 claims calculations; (ii) cleaning
claimant-submitted data in order to minimize the number of deficiencies and failed claims;
(iii) consulting on quality control and audit procedures; and (v) assisting Class Counsel and Epiq
in responding to complex inquiries from claimants.

       Plaintiffs respectfully request authorization to disburse an additional $2,000,000 from the
settlement funds to pay reasonable Settlement Administration Expenses. Plaintiffs anticipate
seeking permission to disburse additional funds at future dates and, at that time, propose to
submit to the Court additional details supporting the reasonableness of the payments, along with
a proposed order granting such relief.

                                     Respectfully submitted,

SCOTT+SCOTT ATTORNEYS AT LAW LLP                      HAUSFELD LLP

 s/ Christopher M. Burke                               s/ Michael D. Hausfeld
Christopher M. Burke                                  Michael D. Hausfeld
600 W. Broadway, Suite 3300                           1700 K Street, NW, Suite 650
San Diego, CA 92101                                   Washington, DC 20006
Telephone: 619-233-4565                               Telephone: 202-540-7200

                       Settlement Class Counsel and Counsel for Plaintiffs
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                      EXHIBIT A
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                                                        Exhibit A

                     Settlement Administration Expenses Paid and Incurred to Date

                                                                           Amount Paid
                                                       Invoice Amount                         Amount
   Name                  Invoice Date                                    from Settlement
                                                             ($)                           Outstanding ($)
                                                                            Funds ($)
                             Feinberg Total:                550,223.61        550,223.61                     -
                                AACG Total:                  27,050.78         27,050.78                     -
                         Approved Ankura
                                 Subtotal:                4,852,510.48      4,852,510.48                     -
Ankura (new)          4/10/19 (for Jan. '19)                186,474.50        186,474.50                     -
                     4/10/19 (for Feb. '19)                 179,243.00        179,243.00                     -
                   5/23/19 (for March '19)                  180,683.50        180,683.50                     -
                     5/23/19 (for April '19)                154,366.00        154,366.00                     -
                             Ankura Total:                5,553,277.48      5,553,277.48                     -
                           Approved Epiq
                                 Subtotal:                5,646,764.11      5,646,764.11                     -
 Epiq (new)           4/5/19 (for Jan. '19)                 117,956.41        117,956.41                     -
                     5/28/19 (for Feb. '19)                 135,343.87        135,343.87                     -
                   5/28/19 (for March '19)                  133,755.78        133,755.78                     -
                                Epiq Total:               6,033,820.17      6,033,820.17                     -
                           Approved Rust
                                 Subtotal:                1,304,781.03      1,304,781.03                     -
 Rust (new)         4/16/2019 (for Q1 '19)                   34,500.86         34,500.86                     -
                               Rust Total:                1,339,281.89      1,339,281.89                     -
                      UBS Total (postage):                   47,551.26         47,551.26                     -
                        Approved Velador
                                 Subtotal:                  120,381.21        120,381.21                 -
Velador (new)          3/8/19 (for Jan. '19)                 78,680.77         78,680.77                 -
                     3/14/19 (for Feb. '19)                 135,037.23        135,037.23                 -
                   4/16/19 (for March '19)                  122,589.46        122,589.46                 -
                     5/14/19 (for April '19)                116,501.05        116,501.05                 -
                     6/11/19 (for May '19)                  134,729.38        134,729.38                 -
                      7/1/19 (for June '19)                  99,838.45         99,838.45                 -
                      8/21/19 (for July '19)                 42,684.17         42,684.17                 -
                     9/13/19 (for Aug. '19)                 140,447.39                 -        140,447.39
                            Velador Total:                  990,889.11        850,441.72        140,447.39
                                     Total:              14,542,094.30     14,401,646.91        140,447.39




   Indicates invoice appeared on a prior application
    Indicates new invoice
